               Case 1:15-cv-11545-NMG Document 82 Filed 03/02/18 Page 1 of 3



                                 IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF MASSACHUSETTS

    ----------------------------------------------------- x
                                                          :
    SUNRISE TECHNOLOGIES, INC.,                            :       Civil Action No. 1:15-cv-11545-NMG
                                                          :
                               Plaintiff,                 :
                                                          :
             vs.                                          :
                                                          :
    CIMCON LIGHTING, INC.,                                :
                                                          :
                               Defendant.                 :
    ----------------------------------------------------- x


                           AGREED MOTION TO DISMISS WITH PREJUDICE


             Pursuant to the Federal Rules of Civil Procedure, Plaintiff Sunrise Technologies, Inc.

    (“Sunrise”) and CIMCON Lighting, Inc. (“CIMCON”), represented by their attorneys, hereby

    stipulate and agree to as follows:

    1.       The Complaint filed by Sunrise against CIMCON in the above-captioned case,

    including all claims and causes of action asserted by Plaintiff Sunrise against CIMCON, are

    dismissed with prejudice to the Plaintiff to re-filing same and without costs.

    2.       All Counterclaims filed by CIMCON against Plaintiff are dismissed with prejudice to

    re-filing same and without costs.

    3.       Each of the parties to this Agreed Motion is to bear its own costs and fees, including

    attorney’s fees.

             So agreed and stipulated.




                                                                
             Case 1:15-cv-11545-NMG Document 82 Filed 03/02/18 Page 2 of 3



    Dated: March 2, 2018                 Respectfully submitted,



                                 By:     /s/ Adam J. Kessel                    
                                         Adam J. Kessel (BBO# 661211)
                                         FISH & RICHARDSON, P.C.
                                         One Marina Park Drive
                                         Boston, MA 02210
                                         kessel@fr.com

                                         Counsel for Defendant, CIMCON Lighting, Inc.


                                 By:     /s/ Michael A. Albert
                                         Michael A. Albert (BBO# 558566)
                                         WOLF, GREENFIELD & SACKS P.C.
                                         600 Atlantic Avenue
                                         Boston, MA 02210
                                         malbert@wolfgreenfield.com

                                         Counsel for Plaintiff, Sunrise Technologies, Inc.




                                             
          Case 1:15-cv-11545-NMG Document 82 Filed 03/02/18 Page 3 of 3



                               CERTIFICATE OF SERVICE

I certify that this document is being filed through the Court’s electronic filing system, which
serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                                            /s/ Michael A. Albert______
                                                            Michael A. Albert




                                                 
